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IN THE UNITED sTATEs DISTRICT CoURT
FoR THE WESTERN DISTRICT oF TENNESSEE;§ nw 20 ms '3= 52

 

 

WESTERN DIVISION
UNITED STATES OF AMERICA,
Plaintiff,
VS. NO. 04-20247-Ma
MARCUS MCKlNNIE,
Defendant.

 

ORDER RESETTING SENTENCING DATE

 

Before the court is the defendant’s May 19, 2005, motion to continue the Sentencing
Which is presently set for May 20, 2005. For good cause shoWn, the motion is granted The
Sentencing ofdefendant Marcus McKinnie is reset to Monday, June 6, 2005 at 9:00 a.m.

iT ls So oRDERED this l‘l (i:@y OfMay, 2005_

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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This notice confirms a copy of the document docketed as number 34 in
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Honorable Sarnuel Mays
US DISTRICT COURT

